                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF ARIZONA
                                      CIVIL TRIAL MINUTES


Phoenix Division

HON: NEIL V. WAKE

CV 15-01132-PHX-NVW            DATE: 12/13/2017

Austin Flake, et al                 v. Joseph Arpaio, et al
Plaintiff(s)                            Defendant(s)

Deputy Clerk: Rebekka Walder        Court Reporter: Laurie Adams

 Stephen Montoya and Richard Trujillo with Plaintiffs Austin Flake and Logan Brown
Plaintiff(s) counsel

 Evan Hiller and Jeffrey Leonard on behalf of Defendants
Defense counsel

PROCEEDINGS:/ X /JURY TRIAL /               /COURT TRIAL / /VOIR DIRE / /JURY SWORN

Trial Day #   5        Waiver of Jury trial filed   n/a

9:01 a.m. Reconvene. Jury is not present. Final Jury Instructions are discussed. The Court advises the parties
that the testimony of M.L. “Andy” Anderson will be excluded, for reasons stated on the record. 9:13 a.m. Jury
is present. Plaintiffs’ case continued: Austin Flake, previously sworn, is further examined. 10:37 a.m. Jury is
excused from the courtroom and court remains in session. Matters discussed. 10:43 a.m. Recess.

11:03 a.m. Reconvene. Jury is not present. The parties advise the Court that they will be taking a witness out of
order due to a scheduling issue. 11:05 a.m. Jury is present. Shawn Steinberg is sworn and examined. Exhibit 30f
is admitted over objection of Plaintiffs. Defendants move for the admission of Exhibit 30i. Plaintiffs object.
Sidebar discussion held. Plaintiffs’ objection overruled and Exhibit 30i is admitted. 12:09 p.m. Jury is excused
from the courtroom and court remains in session. Matters discussed.

IT IS ORDERED that the portion of the order of August 31, 2017, (Doc. 134), that grants summary judgment
in favor of defendant Marie Trombi is vacated.

Trial schedule is discussed. 12:16 p.m. Recess.
1:22 p.m. Reconvene. Jury is present. Shawn Steinberg is further examined. Defendants move for the admission
of Exhibit 71. Plaintiffs object. Sidebar discussion held. Plaintiffs’ objection to the admission of Exhibit 71 is
sustained. Exhibit 12 is admitted. After a sidebar discussion is held, Exhibit 2 is admitted for the limited purpose
of showing what contentions were made in Plaintiffs’ motion to dismiss the criminal case, in response to which
the Court Attorney announced that the case would be dismissed for failure to take into account the possible
malfunctioning of the air conditioning. 3:10 p.m. Jury is excused from the courtroom and court remains in
session. Matters discussed. 3:17 p.m. Recess.

3:33 p.m. Reconvene. Jury is present. Shawn Steinberg is further examined. Witness is excused. Austin Flake
is further examined. Exhibits 54 and 55 are admitted. Exhibit 45 is admitted with noted redactions. Defendants
move to admit Exhibit 51. Plaintiffs object. Sidebar discussion held. Plaintiffs’ objection to the admission of
Exhibit 51 is sustained. Exhibit 52 is admitted over the objection of Plaintiffs. 5:00 p.m. Jury is excused until
9:30 a.m. on December 14, 2017, and court remains in session. Final Jury Instructions are reviewed. Plaintiffs’
Exhibit 2 is discussed. Demonstrative exhibit (Exhibit F to Exhibit 2) is admitted as Plaintiffs’ Exhibit 20.

IT IS FURTHER ORDERED reversing the admission of Exhibit 30a.

5:16 p.m. Court is adjourned until 8:30 a.m. on December 14, 2017.
